              Case 2:17-cv-04059-MCS-JEM Document 482 Filed 07/11/22 Page 1 of 3 Page ID #:11802




                              1 Sarah P. Bell (State Bar No. 227082)
                                 sbell@fbm.com
                              2 Elizabeth Dorsi (State Bar No. 282285)
                                 edorsi@fbm.com
                              3 Farella Braun + Martel LLPth
                                235 Montgomery Street, 17 Floor
                              4 San Francisco, California 94104
                                Telephone: (415) 954-4400
                              5 Facsimile: (415) 954-4480
                              6 Attorneys for Defendant Union Pacific
                                Railroad Company
                              7
                              8
                              9                             UNITED STATES DISTRICT COURT
                           10                              CENTRAL DISTRICT OF CALIFORNIA
                           11 GEORGE TORRES, an individual; and                   Case No. 2:17-cv-04059-MCS-JEM
                              ROBERTA TORRES, an individual,
                           12                                                     NOTICE OF MOTION AND
                                       Plaintiff,                                 MOTION FOR DETERMINATION
                           13                                                     OF GOOD FAITH SETTLEMENT
                                  vs.
                           14                                                     [Filed Concurrently with Memorandum
                              HAROLD IGDALOFF, et al.,                            of Points and Authorities; Declaration
                           15                                                     of Sarah P. Bell; [Proposed] Order]
                                       Defendants.
                           16                                                     The Hon. Mark C. Scarsi
                              UNION PACIFIC RAILROAD
                           17 COMPANY, a Delaware corporation                     Action file:      May 31, 2017
                                         Defendant and Cross-Claimant,            Trial Date:       September 6, 2022
                           18
                           19 vs.                                                 Hearing Date:     August 8, 2022
                                                                                  Hearing Time:     9:00 a.m.
                           20 HAROLD IGDALOFF, et al..
                           21            Defendants and Cross-Defendants.
                           22 AND RELATED CROSSCLAIMS
                           23
                           24
                           25
                           26
                           27
                           28
   Farella Braun + Martel LLP       NOTICE OF MOT. & MOT. FOR                                                  34999\14915922.1
235 Montgomery Street, 17th Floor
 San Francisco, California 94104    DETERMINATION OF GOOD FAITH
         (415) 954-4400
                                    SETTLEMENT - Case No. 2:17-cv-04059-MCS-JEM
              Case 2:17-cv-04059-MCS-JEM Document 482 Filed 07/11/22 Page 2 of 3 Page ID #:11803




                              1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                              2            PLEASE TAKE NOTICE THAT ON August 8, 2022 at 9:00 a.m., or as soon
                              3 thereafter as the matter may be heard before the Honorable Mark C. Scarsi, in the
                              4 Courtroom 7C of United States Courthouse for the Central District of California,
                              5 Western Division, 350 W. 1st Street, Los Angeles, California 90012, Union Pacific
                              6 Railroad Company (“Union Pacific”) will and hereby does move the Court for an
                              7 order declaring that the settlement entered into between Union Pacific, on the one
                              8 hand, and Harold Igdaloff, Estate of Evelyn Igdaloff, Deceased, and Igdaloff 1993
                              9 Family Trust (collectively, “the Igdaloff Parties”), on the other hand (“Settlement”),
                           10 was made in good faith within the meaning of California Code of Civil Procedure
                           11 Sections 877 and 877.6. Union Pacific further moves this Court for an Order
                           12 barring all claims or actions seeking contribution from the Igdaloff Parties.
                           13              This motion is based on this Notice of Motion, the attached Memorandum of
                           14 Points and Authorities, the Declaration of Sarah P. Bell and exhibits filed in support
                           15 thereof, all pleadings, records and other documents on file with the Court in this
                           16 action, and on such further oral and/or documentary evidence as may properly be
                           17 presented at the time of the hearing of this motion.
                           18              This Motion is made pursuant to the terms of Union Pacific’s settlement with
                           19 the Igdaloff Parties. Other than the Igdaloff Parties, there are no other remaining
                           20 parties that have appeared in this action because this Court has already found that
                           21 Union Pacific’s settlements with the remaining parties to have appeared in this
                           22 action were made in good faith and dismissed all claims against such parties. ECF
                           23 Nos. 403, 455, 467. Accordingly, there were no other parties with which to meet
                           24 and confer pursuant to Local Rule 7-3. See Decl. of Sarah P. Bell (“Bell Decl.”) ¶ 3,
                           25 filed concurrently herewith.
                           26
                           27
                           28
                                                                                                             34999\14915922.1
   Farella Braun + Martel LLP
235 Montgomery Street, 17th Floor
                                    NOTICE OF MOT. & MOT. FOR                     2
 San Francisco, California 94104    DETERMINATION OF GOOD FAITH
         (415) 954-4400
                                    SETTLEMENT - Case No. 2:17-cv-04059-MCS-JEM
              Case 2:17-cv-04059-MCS-JEM Document 482 Filed 07/11/22 Page 3 of 3 Page ID #:11804




                              1 Dated: July 11, 2022                       FARELLA BRAUN + MARTEL LLP
                              2
                              3                                            By:          /s/ Sarah P. Bell
                              4                                                   Sarah P. Bell

                              5                                            Attorneys for Defendant Union Pacific Railroad
                                                                           Company
                              6
                              7
                              8
                              9
                           10
                           11
                           12
                           13
                           14
                           15
                           16
                           17
                           18
                           19
                           20
                           21
                           22
                           23
                           24
                           25
                           26
                           27
                           28
                                                                                                               34999\14915922.1
   Farella Braun + Martel LLP
235 Montgomery Street, 17th Floor
                                    NOTICE OF MOT. & MOT. FOR                     3
 San Francisco, California 94104    DETERMINATION OF GOOD FAITH
         (415) 954-4400
                                    SETTLEMENT - Case No. 2:17-cv-04059-MCS-JEM
